













Opinion issued March 18, 2010










In The
Court of Appeals
For The
First District of Texas




NO. 01-09-01027-CV
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;



ROBERTO BENITEZ, Appellant

V.

JACQUELINE ROMERO, Appellee




On Appeal from the 308th District Court
Harris County, Texas
Trial Court Cause No. 2009-27562




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant Roberto Benitez has neither established indigence, nor paid all the
required fees.  See Tex. R. App. P. 5 (requiring payment of fees in civil cases unless
indigent), 20.1 (listing requirements for establishing indigence); see also Tex. Gov’t
Code Ann. §§ 51.207 (Vernon 2005), 51.208 (Vernon Supp. 2007); 51.941(a)
(Vernon 2005), 101.041 (Vernon Supp. 2009) (listing fees in court of appeals); Fees
Civ. Cases B(1), (3) (listing fees in court of appeals).  After being notified that this
appeal was subject to dismissal, appellant did not adequately respond.  See Tex. R.
App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary dismissal of
case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has neither established indigence, nor paid or made arrangements to
pay the clerk’s fee for preparing the clerk’s record.  See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal if no
trial court clerk’s record filed due to appellant’s fault).  After being notified that this
appeal was subject to dismissal, appellant did not adequately respond.  See Tex. R.
App. P. 42.3(c) (allowing involuntary dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We dismiss the appeal for want of prosecution due to nonpayment of the
appellate filing fee and no payment for arrangement to pay for the trial court clerk’s
record.  All pending motions are denied as moot.
PER CURIAM
Panel consists of Justices Keyes, Sharp, and Massengale.


